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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CITIZENS UNITED AND           )
DAILY CALLER NEWS             )
FOUNDATION                    )
                Plaintiffs,   )
                              )                Civ. A. No. 1:20-cv-00974 (CKK)
      v.                      )
                              )
U.S. DEPARTMENT OF JUSTICE, )
                              )
                  Defendant.  )
______________________________)

                            FIFTEENTH JOINT STATUS REPORT

       In accordance with the Parties’ Fourteenth Joint Status Report, dated May 25, 2022, ECF

No. 21, in this Freedom of Information Act (“FOIA”) litigation, the parties report as follows:

       1.       This is a FOIA case in which Plaintiffs Citizens United and Daily Caller News

Foundation (“Plaintiffs”), seek records from the U.S. Department of Justice’s (“DOJ”) Office of

the Inspector General (“OIG”) pertaining to what Plaintiffs allege was “the Department of Justice

Inspector General’s Investigation entitled ‘Review of Four FISA Applications and Other Aspects

of the FBI’s Crossfire Hurricane Investigation.’” Compl. ¶ 7, ECF No. 1.

       2.       Plaintiffs’ Complaint describes their FOIA request as seeking the following:

       All interview transcripts, interview summaries, interview notes and/or FBI 302s
       generated as a result of investigative interviews of the following individuals in the
       course of the Department of Justice Inspector General’s investigation entitled
       ‘Review of Four FISA Applications and Other Aspects of the FBI’s Crossfire
       Hurricane Investigation.’

            James Comey; Loretta Lynch; Sally Yates; Dana Boente; Andrew McCabe;
             Rod Rosenstein; James Baker; Bruce Ohr; Nellie Ohr; Christopher Steele; Peter
             Strzok; Lisa Page; Bill Priestap; Katheen Kavalec; Andrew Weissmann; Zainab
             Ahmad; Bruce Swartz; Stuart Evans; Michael Atkinson; John Carlin; Mary
             McCord; George Toscas; David Laufman; James Rybicki; Michael Kortan;
             Case Agent 1; and Handling Agent 1.


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Compl. ¶ 7, ECF No. 1.

       3.       The FBI has received from OIG approximately 5,300 pages of interview transcripts

responsive to Plaintiffs’ FOIA request for consultation. The FBI previously agreed to use its best

efforts (recognizing the classified nature of much of the material) to return approximately 500

pages per month to OIG for further processing; OIG has determined that it has the capacity to

process 150 pages a month, and has agreed to use its best efforts to do so on a monthly basis.1

       4.       Since July 2021, FBI has provided OIG with 3,542 pages of records on

consultation. OIG has initially processed 1,819 pages of material to identify its own privacy

interests and equities outside of OIG. To the extent it has identified other equities in the material,

it has sent such material for consultation to another DOJ component and/or another federal

agency. Of the 1,819 pages of materials initially processed, OIG has further processed 132 pages

to identify any other applicable FOIA exemptions. OIG will continue to do so for these records

and all other responsive records outstanding.

       5.       With respect to the existence of any potentially responsive interview summaries or

notes, on January 12, 2021, OIG sent 41 pdf files containing approximately 1,000 pages of

potentially responsive records to the FBI for consultation/sensitivity review. The FBI will begin

its review of these records once it has finished its consultation regarding the approximately 5,300

pages referenced in paragraph 4, above. Once OIG begins to receive the material, it will assess its

ability to process it and on what schedule.

       6.       The OIG previously identified 5 additional transcripts and an additional 4 sets of

notes that could not be sent electronically because of their level of classification. OIG has


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  In light of FBI’s other responsibilities and the pace of OIG’s progress, FBI has reduced its output
to 300 pages per month. Starting in September 2022, OIG will use its best efforts and additional
resources in an attempt to increase its processing output to 250 pages per month, depending on the
complexity of the material.

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submitted the material to a third-party agency, who began returning the material on a rolling basis

in March 2022.

       7.       Finally, OIG has not identified any FBI 302s in its possession that were generated

by OIG as a result of OIG’s investigative interviews in the course of the investigation identified in

the request.

       8.       At this time, Defendant does not believe an Open America motion is likely. The

Parties believe that it is premature to propose a summary judgment briefing schedule.

       9.       The Parties agree to report to the Court on their progress on September 22, 2022.


DATE: July 22, 2022                           Respectfully submitted,
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